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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF NEW MEXICO

UNITED STATES OF AMERICA,
                Plaintiff,

vs.                                                                   NO. 05-CR-379-MV

COLBY ATKINS, et al.,
                 Defendants.


  ORDER GRANTING PETITION TO MODIFY CONDITIONS OF PROBATION AND
            ORDER AMENDING APPLICATION OF INTEREST

         THIS MATTER having come before the Court on United State Probation Officer Wade

Miller’s Petition to Modify Conditions of Probation [Doc. 105] and the Court considering

Defendant Atkins’ Objection and Motion to Modify Conditions of Probation concerning the

application of Interest [Doc. 112] and the Government’s Response in Opposition [Doc. 113], and

the Court having considered the arguments raised at the hearing on November 13, 2018, Orders

as follows:


         IT IS HEREBY ORDERED that Defendant Atkins be required to follow all financial

conditions requested in the United States’ Petition to Modify Conditions of Probation [Doc. 105]

as those conditions are standard and routinely applied to similarly situated Defendants and the

Defendant having waived any objection to the extra provisions requested. Those conditions

being the following:


      1. Mr. Atkins will consent to any search by U.S. Probation as laid out in 18 U.S.C. §

         1030(e)(1).

      2. Mr. Atkins will not incur new credit charges or enter into financial contracts without

         approval from his probation officer.



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   3. Mr. Atkins will provide his probation officer to access to any requested financial

         information and authorize the release of any requested financial information.

   4. Mr. Atkins will begin paying at least $250 per month or 10% of his monthly income,

         whichever is greater, toward the restitution ordered in this case. As of November 16,

         2018, Mr. Atkins owes $21,225.14 as the principal balance of his restitution debt.


   IT IS FURTHER ORDERED, that, once Mr. Atkins has paid off the restitution principal, the

United States will be prohibited from the collection of any interest associated with this restitution

debt from Mr. Atkins and that all interest on that debt shall be waived pursuant to the Court’s

authority in 18 U.S.C. § 3612 (f)(3)(A)-(C). However, Mr. Atkins is required to first pay off the

restitution principal before such waiver will be enforced. Upon completion of payment of the

restitution principal, Mr. Atkins shall notify the Financial Litigation Unit of the United States

Attorney’s Office, in writing, of his compliance with this Court’s Order, and any remaining

interest balance on his restitution debt shall be waived by the United States as ordered by the

Court.




IT IS SO ORDERED.




                                       THE HONORABLE MARTHA VAZQUEZ
                                       United States District Judge




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